Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 1 of 39 Page ID
                                 #:10149




       EXHIBIT B TO THE DECLARATION OF SHAELYN K.
       DAWSON IN SUPPORT OF DEFENDANTS’ RENEWED
                 MOTION FOR PARTIAL STAY
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 2 of 39 Page ID
                                 #:10150
    Trials@uspto.gov                                                   Paper 7
    571-272-7822                                      Entered: August 28, 2018




           UNITED STATES PATENT AND TRADEMARK OFFICE
                           ____________

            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                           ____________

                           NIKON CORPORATION,
                                 Petitioner,

                                        v.

                         ASML NETHERLANDS B.V.
                            CARL ZEISS AG,
                              Patent Owner.
                              ____________

                             Case IPR2018-00688
                             Patent 6,463,163 B1
                               ____________

    Before JEFFREY S. SMITH, DAVID C. McKONE, and
    KEVIN W. CHERRY, Administrative Patent Judges.

    SMITH, Administrative Patent Judge.



                                    DECISION
                         Instituting Inter Partes Review
                                35 U.S.C. § 314(a)




                           Dawson Decl. Exh. B, Page 43
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 3 of 39 Page ID
                                 #:10151
    IPR2018-00688
    Patent 6,463,163 B1

                                 I. INTRODUCTION
          Petitioner filed a Petition for inter partes review of claims 1–4, 6, 7,
    9–11, 14–16, and 19 of U.S. Patent No. 6,463,163 B1 (Ex. 1001, “the ’163
    patent”). Paper 2 (“Pet.”). Patent Owner filed a Preliminary Response.
    Paper 6 (“Prelim. Resp.”). Patent Owner also filed a statutory disclaimer of
    claims 9–14. Ex. 2002. Institution of an inter partes review is authorized by
    statute when “the information presented in the petition . . . and any
    response . . . shows that there is a reasonable likelihood that the petitioner
    would prevail with respect to at least 1 of the claims challenged in the
    petition.” 35 U.S.C. § 314(a).
          Upon consideration of the Petition and the Preliminary Response, we
    are persuaded Petitioner has demonstrated a reasonable likelihood that it
    would prevail in establishing the unpatentability of at least one claim of the
    ’163 patent. Accordingly, we institute an inter partes review on all
    challenged claims and grounds raised in the Petition, with the exception of
    claims 9–14, which have been statutorily disclaimed by Patent Owner.
                                  A. Related Matters
          The ’163 patent is the subject of Carl Zeiss AG and ASML
    Netherlands B.V. v. Nikon Corporation, Sendai Nikon Corporation, and
    Nikon Inc., Case No. 2:17-cv-7083-RGK (C.D. Cal.), filed Sept. 26, 2017.
                                  B. The ’163 Patent
          The ’163 patent relates generally to image pattern detection and
    recognition and more particularly to a system and a method for face
    detection. Ex. 1001, 1:6–8. The face detection system and method for pre-
    filtering an input image utilizes a candidate selector that selects candidate
    regions of the input image that potentially contain a picture of a human face.


                                            2
                              Dawson Decl. Exh. B, Page 44
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 4 of 39 Page ID
                                 #:10152
    IPR2018-00688
    Patent 6,463,163 B1

    Id. at 2:20–24. A face detector then verifies whether the candidate regions
    do contain a human face. Id. at 2:24–27.
          The candidate selector includes a linear matched filter and a non-
    linear filter that operate in series to select the candidate regions of the input
    image. Id. at 2:34–37. Components of the candidate selector are shown in
    Figure 3, which is reproduced below.




          As shown in Figure 3 above, candidate selector 12 includes linear
    correlator 52 and processing module 54, which form linear matched filter 56.
    Ex. 1001, 6:60–63. Candidate selector 12 also includes contrast calculators
    58, 60, and 62 and decision module 64, which form non-linear filter 66.
    Id. at 63–65. Linear correlator 52 performs a linear correlation on an input

                                            3
                               Dawson Decl. Exh. B, Page 45
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 5 of 39 Page ID
                                 #:10153
    IPR2018-00688
    Patent 6,463,163 B1

    image using a filtering kernel to convert the input image into a correlation
    image. Id. at 7:10–43. The correlation image is transmitted to processing
    module 54, which selects regions that contain a local maximum and have
    pixel correlation values that are greater than a threshold value as temporary
    candidate regions. Id. at 7:44–51. The local maximum is a location on the
    correlation image where the correlation value is greater than the correlation
    values of surrounding locations. Id. at 7:51–53.
          The temporary candidate regions are transmitted to non-linear filter
    66. Id. at 7:61–63. For each temporary candidate region, non-linear filter 66
    analyzes local contrast values within sub-regions of the temporary candidate
    region. Id. at 7:64–66. The local contrast values are computed by contrast
    calculators 58, 60, and 62. Id. at 8:8–10. Temporary candidate regions
    having local contrast values greater than a threshold value are identified as
    candidate regions. Id. at 8:2–5. The candidate regions are transmitted to the
    face detector. Id. at 8:63–64.
                                C. Illustrative Claim
          Claims 1, 9, and 15 of the challenged claims of the ’163 patent are
    independent. Claim 1 is illustrative of the claimed subject matter:
                 1. A method of pre-filtering an input image to determine
          whether said input image includes a target image pattern of
          interest comprising steps of:
                 receiving said input image;
                 correlating said input image with preselected reference
          data to derive a correlation image, said preselected reference data
          being representative of said target image pattern of interest, said
          correlation image having image data indicative of correlations
          between said input image and said preselected reference data;
          and


                                           4
                             Dawson Decl. Exh. B, Page 46
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 6 of 39 Page ID
                                 #:10154
    IPR2018-00688
    Patent 6,463,163 B1

                     selecting a candidate region of said input image having a
              likelihood of containing said target image pattern of interest on a
              basis of correlating said input image with said preselected
              reference data, said step of selecting including identifying
              potential candidate regions of said input image based on
              detecting a local maximum in said correlation image and
              screening said potential candidate regions by analyzing a
              grayscale characteristic of said potential candidate regions, said
              screening including discarding said potential candidate regions
              that do not satisfy a predetermined criterion with respect to said
              grayscale characteristic in order to increase a probability that said
              selected candidate region contains said target image pattern of
              interest.
    Ex. 1001, 15:65–16:20.
                                        D. References
              Petitioner relies on the following references. Pet. 16.
        Reference Title                                          Date        Ex. No.
        Yow           “Feature-Based Human Face                  1997        Ex. 1003
                      Detection,” Journal of Image and
                      Vision Computing 15, pp. 713–55.
        Yow           “Automatic Human Face Detection            1998 1      Ex. 1004
        Thesis        and Localization” pp. 1–193
        Kosugi        JP H5-174149                               1993        Ex. 1005
        Fang          WO 96/38808                                1996        Ex. 1006
        Crowley       “Integration and Control of Reactive       1995        Ex. 1007
                      Visual Processes,” Journal of
                      Robotics and Autonomous Systems
                      16, pp. 17–27.
        Rowley        “Neural Network-Based Face                 Jan. 1998   Ex. 1008
                      Detection,” IEEE Transactions on
                      Pattern Analysis and Machine
                      Intelligence, vol. 20, no. 1, pp 23–
                      38.

    1
     Although the document is dated 1998, Patent Owner disputes that the Yow
    Thesis was publicly available at that time, as discussed in detail below.
                                               5
                                  Dawson Decl. Exh. B, Page 47
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 7 of 39 Page ID
                                 #:10155
    IPR2018-00688
    Patent 6,463,163 B1

                        E. Asserted Grounds of Unpatentability
            Petitioner contends that claims 1–4, 6, 7, 15, 16, and 19 of the
    ’163 patent are unpatentable based on the following grounds: 2

        Reference(s)                     Basis           Challenged Claims
        Yow                              § 103     1–3, 6, 15, 16, and 19
        Yow and Crowley                  § 103     4 and 7
        Yow Thesis                       § 103     1–3, 6, 7, 15, 16, and 19
        Yow Thesis and Crowley           § 103     4
        Kosugi                           § 103     1, 4, 6, and 7
        Kosugi and Fang                  § 103     2 and 3
        Kosugi, Fang, and Rowley         § 103     15 and 19


                                    II. ANALYSIS
                                 A. Claim Construction
            We interpret claims of an unexpired patent using the broadest
    reasonable construction in light of the specification of the patent in which
    they appear. See 37 C.F.R. § 42.100(b); Cuozzo Speed Techs., LLC v. Lee,
    136 S. Ct. 2131, 2144–45 (2016). “Under a broadest reasonable
    interpretation, words of the claim must be given their plain meaning, unless
    such meaning is inconsistent with the specification and prosecution history.”
    Trivascular, Inc. v. Samuels, 812 F.3d 1056, 1062 (Fed. Cir. 2016).
             “Construing a means-plus-function claim term is a two-step process.
    The court must first identify the claimed function. Then, the court must
    determine what structure, if any, disclosed in the specification corresponds
    to the claimed function.” Williamson v. Citrix Online, LLC, 792 F.3d 1339,

    2
      Because claims 9–11 and 14 have been disclaimed, we will not address
    these claims in our analysis of the asserted grounds of unpatentability.
                                            6
                               Dawson Decl. Exh. B, Page 48
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 8 of 39 Page ID
                                 #:10156
    IPR2018-00688
    Patent 6,463,163 B1

    1351 (Fed. Cir. 2015) (en banc). In cases involving a special purpose
    computer-implemented means-plus-function limitation, the Federal Circuit
    requires “that the specification disclose an algorithm for performing the
    claimed function.” Media Rights Techs., Inc. v. Capital One Fin. Corp., 800
    F.3d 1366, 1374 (Fed. Cir. 2015). “A description of the function in words
    may disclose, at least to the satisfaction of one of skill in the art, enough of
    an algorithm to provide the necessary structure under § 112, ¶ 6.” Typhoon
    Touch Techs., Inc. v. Dell, Inc., 659 F.3d 1376, 1385 (Fed. Cir. 2011).
          Petitioner proposes construing the term “correlation” recited in claims
    1, 7, 10, and 11 as “an image correlation operation between the input image
    and a kernel that results in a correlation image.” Pet. 9–10. Petitioner
    proposes construing the term “correlating” recited in claims 1, 6, 9, and 10
    as “performing an image correlation operation between the input image and
    a kernel that results in a correlation image.” Pet. 9–11. Petitioner proposes
    construing the term “convolution” recited in claims 4, 10, and 16 as “an
    image correlation operation between the input image and a kernel, resulting
    in a correlation image.” Pet. 11–12.
          Patent Owner contends construing the terms “correlation,”
    “correlating,” and “convolution” is not necessary in order to resolve any
    dispute. Prelim. Resp. 5. Patent Owner also contends that Petitioner’s
    proposed constructions of “correlation,” “correlating,” and “convolution” are
    not the broadest reasonable constructions of these terms. Id.
          Construction of these terms is not necessary to resolve a dispute. We
    determine that the terms “correlation,” “correlating,” and “convolution” do
    not require express construction at this stage. See Vivid Techs., Inc. v. Am.
    Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999) (“[O]nly those terms


                                            7
                              Dawson Decl. Exh. B, Page 49
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 9 of 39 Page ID
                                 #:10157
    IPR2018-00688
    Patent 6,463,163 B1

    need be construed that are in controversy, and only to the extent necessary to
    resolve the controversy.”).
          Claim 15 recites “first filtering means configured for identifying a
    plurality of image regions of said input image that have a likelihood of
    containing said target image pattern, said filtering means being configured to
    correlate said input image with a reference image pattern to select said
    image regions.” Petitioner identifies the claimed function as “identifying a
    plurality of image regions of said input image that have a likelihood of
    containing said target image pattern” and “correlate said image with a
    reference image pattern to select said image regions.” Pet. 13. Patent
    Owner identifies a similar function. Prelim. Resp. 9.
          Petitioner contends the corresponding structure for performing this
    function is linear matched filter 56 programmed to employ the algorithm
    described at 7:10–21, 7:44–47 of the Specification of the ’163 patent.
    Pet. 13–14 (citing Ex. 1016 ¶ 34). Patent Owner contends the corresponding
    structure is at least linear matched filter 56. Prelim. Resp. 9 (citing
    Ex. 1001, 6:65–7:1).
          We construe “first filtering means” as a means-plus-function
    limitation with the function of identifying a plurality of image regions of
    said input image that have a likelihood of containing said target image
    pattern by correlating said image with a reference image pattern to select
    said image regions, and with the corresponding structure encompassing at
    least a linear matched filter programmed to employ the algorithm described
    at 7:10–21, 7:44–47 of the ’163 patent and equivalents.
          Claim 15 recites “second filtering means . . . for screening said image
    regions that has a high likelihood of containing said target image pattern”


                                            8
                              Dawson Decl. Exh. B, Page 50
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 10 of 39 Page ID
                                 #:10158
    IPR2018-00688
    Patent 6,463,163 B1

    and “configured to examine a grayscale characteristic of said image regions
    as a determination factor in selecting said candidate region from among said
    image regions.” Petitioner identifies the claimed function as “screening said
    image regions to select a candidate region that has a high likelihood of
    containing said target image pattern,” and “examine a grayscale
    characteristic of said image regions as a determination factor in selecting
    said candidate region from among said image regions.” Pet. 14. Patent
    Owner identifies a similar function. Prelim. Resp. 9–10.
          Petitioner contends the corresponding structure for performing this
    function is non-linear filter 66 programmed to employ the algorithm
    described at 7:64–8:7 of the Specification of the ’163 patent. Pet. 14 (citing
    Ex. 1016 ¶ 36). Patent Owner contends the corresponding structure is at
    least non-linear filter 66. Prelim. Resp. 9–10 (citing Ex. 1001, 6:65–7:1).
          We construe “second filtering means” as a means-plus-function
    limitation with the function of screening image regions to select a candidate
    region that has a high likelihood of containing the target image pattern by
    examining a grayscale characteristic of the image regions as a determination
    factor in selecting the candidate region, and with the corresponding structure
    encompassing at least a non-linear filter programmed to employ the
    algorithm described at 7:64–8:7 of the ’163 patent and equivalents.
          Claim 15 recites an “image pattern detector . . . designed to analyze
    said candidate region to verify whether said candidate region contains said
    target image pattern.” Petitioner contends this is a means-plus-function
    limitation because this limitation lacks sufficiently defined structure.
    Pet. 14–15. According to Petitioner, a skilled artisan would not understand



                                           9
                              Dawson Decl. Exh. B, Page 51
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 11 of 39 Page ID
                                 #:10159
    IPR2018-00688
    Patent 6,463,163 B1

    an “image pattern detector” to have a sufficiently definite meaning as the
    name for structure. Id.
          Patent Owner contends that the term “image pattern detector” does not
    include the word “means,” and therefore, a presumption arises that the
    “image pattern detector” is not a means-plus-function limitation. Patent
    Owner contends that the broadest reasonable interpretation of “image pattern
    detector” is broader than the means-plus-function construction proposed by
    Petitioner. Prelim. Resp. 8. Prelim. Resp. 6. According to Patent Owner, a
    person of ordinary skill in the art of image processing would have
    understood the term “image pattern detector” to refer to known,
    conventional techniques to detect human faces in a selected region of an
    input image, connotative of structure. Prelim. Resp. 7–9. In particular,
    Patent Owner relies on an article by Fu and Rosenfeld and the disclosure of
    the ’163 patent to contend that a person of ordinary skill in the art would
    have understood that the claimed “image pattern detector” refers to one of
    many known, conventional devices to detect human faces within selected
    regions of an image. Prelim. Resp. 7–8 (citing Ex. 2001, 1336; Ex. 1001,
    1:27–29, 2:24–27; 3:16–24, 5:53–56).
          We agree with Patent Owner that the broadest reasonable construction
    of “image pattern detector” is not limited to the means-plus-function
    construction proposed by Petitioner. We construe the claimed “image
    pattern detector” as encompassing at least the known, conventional devices
    that detect human faces within a selected region of an input image described
    in the ’163 patent and the article by Fu and Rosenfeld. See Ex. 1001, 2001.




                                          10
                              Dawson Decl. Exh. B, Page 52
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 12 of 39 Page ID
                                 #:10160
    IPR2018-00688
    Patent 6,463,163 B1

                               B. Obviousness Over Yow
          Petitioner, relying on the Declaration of Dr. Irfan Essa (Ex. 1016),
    challenges claims 1–3, 6, 15, 16, and 19 as obvious over Yow. Pet. 17–29.
                                   1. Yow (Ex. 1003)
          Yow discloses a feature-based algorithm for detecting faces that uses
    spatial filters to detect feature points from the image, and uses geometric and
    gray level constraints to group the feature points into face candidates.
    Ex. 1003, Abstract. The algorithm then evaluates the likelihood that each
    candidate is a face. Id.
          The feature points are detected in two steps. First, the image is
    filtered to find a list of interest points. Id. at 716. At a course scale, six
    facial features each resemble a dark elongated bar on a light background,
    which can be found by filtering the image using a matched bandpass filter,
    such as an elongated second derivative Gaussian filter. Id. Local maxima in
    the response indicate the presence and locations of such structures in the
    image. Id.
          Second, edges around each interest point are examined to determine
    whether two parallel edge segments exist on both sides of the interest point.
    Id. If so, then the point is flagged as a facial feature point, and a feature
    region around the feature point is defined. Id.
          Figure 3 of Yow below illustrates the process of detecting a feature
    region. Id.




                                            11
                               Dawson Decl. Exh. B, Page 53
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 13 of 39 Page ID
                                 #:10161
    IPR2018-00688
    Patent 6,463,163 B1




    The left portion of Figure 3 above shows an interest point detected using
    spatial filtering, the center portion shows edges around the interest point that
    are detected and linked based on their proximity and similarity in orientation
    and strength, and the right portion shows a box drawn around the linked
    edges to define a feature region. Id. The feature region’s image
    characteristics, such as edge length, edge strength, and gray-level variance,
    are stored in a feature vector. Id. If a Mahalanobis distance of the feature
    vector is within a threshold of a class of facial features, such as eyebrow,
    eye, nose, or mouth, then the facial feature is identified as valid. Id.
    Otherwise, it is discarded. Id.
                     2. Analysis of Claims 1–3, 6, 15, 16, and 19
          Claim 1 recites “receiving said input image.” Petitioner contends this
    limitation is disclosed by Yow’s description of finding a list of interest
    points from the image using spatial filtering. Pet. 20 (citing Ex. 1003, 716).
          Claim 1 recites “correlating said input image with preselected
    reference data to derive a correlation image, said preselected reference data
    being representative of said target image pattern of interest, said correlation
    image having image data indicative of correlations between said input image
    and said preselected reference data.” Petitioner contends this limitation is
    taught by Yow’s teaching of obtaining a correlation image by correlating the


                                           12
                              Dawson Decl. Exh. B, Page 54
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 14 of 39 Page ID
                                 #:10162
    IPR2018-00688
    Patent 6,463,163 B1

    input image with an elongated Gaussian filter representative of bar-shaped
    features such as eyes and mouth. Pet. 20 (citing Ex. 1003, 716). According
    to Petitioner, the response of the Gaussian filter is a correlation image
    having data indicative of correlations between the input image and filter. Id.
    Petitioner contends that although Yow does not explicitly disclose that the
    response is a correlation image, it would have been obvious to a person of
    ordinary skill to provide a correlation image as the output of Yow’s
    Gaussian filter. Pet. 19–20 (citing Ex. 1016 ¶ 45).
          Dr. Essa testifies that Yow’s step of correlating the input image with a
    second derivative elongated Gaussian filter results in a matrix of correlation
    output values, which is a correlation image of the same size as the input
    image. Ex. 1016 ¶ 45. Dr. Essa further testifies that although Yow does not
    explicitly disclose that the result of the correlation is a correlation image, it
    would have been obvious for a person of ordinary skill to provide that matrix
    of correlation values as the correlation image. Id.
          Claim 1 recites
          selecting a candidate region of said input image having a
          likelihood of containing said target image pattern of interest on a
          basis of correlating said input image with said preselected
          reference data, said step of selecting including identifying
          potential candidate regions of said input image based on
          detecting a local maximum in said correlation image and
          screening said potential candidate regions by analyzing a
          grayscale characteristic of said potential candidate regions, said
          screening including discarding said potential candidate regions
          that do not satisfy a predetermined criterion with respect to said
          grayscale characteristic in order to increase a probability that said
          selected candidate region contains said target image pattern of
          interest.
    Petitioner contends Yow discloses this limitation in disclosing a preattentive


                                            13
                               Dawson Decl. Exh. B, Page 55
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 15 of 39 Page ID
                                 #:10163
    IPR2018-00688
    Patent 6,463,163 B1

    feature selection process that correlates an input image with preselected
    reference data, identifies potential candidate regions based on local maxima
    in correlation output, and screens the potential candidate regions by
    analyzing grayscale characteristics. Pet. 21–22 (citing Ex. 1003, 716,
    Fig. 3).
           The supporting section of Yow discloses identifying a potential
    feature region of the input image based on examining a region around an
    interest point, where the interest point was detected based on local maxima
    in the filtered image. Ex. 1003, 716, Fig. 3. The supporting section of Yow
    discloses storing the potential feature region’s image characteristics, such as
    edge length, edge strength, and gray-level variance, in a feature vector, and
    determining whether a Mahalanobis distance of the feature vector to a class
    of facial features is within an admission threshold. Id. The supporting
    section of Yow further discloses discarding the potential feature region if the
    region’s feature vector does not belong to any class of facial features. Id.
           Patent Owner contends that Dr. Essa’s testimony that Yow’s filtering
    response teaches a “correlation image” should not be credited because,
    according to Patent Owner, Dr. Essa’s statements are not supported by any
    actual evidence. Prelim. Resp. 19–20. Patent Owner also contends that the
    Petition does not explain why a person of ordinary skill in the art would
    have been motivated to modify the elements disclosed in Yow. Prelim.
    Resp. 20–21.
           Yow discloses “filtering the [input] image using a matched bandpass
    filter” such as a “second derivative Gaussian, elongated,” to find facial
    features that each resemble a dark elongated bar on a light background.
    Ex. 1003, 716. Although Yow describes the filtered image as a “response,”


                                          14
                              Dawson Decl. Exh. B, Page 56
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 16 of 39 Page ID
                                 #:10164
    IPR2018-00688
    Patent 6,463,163 B1

    rather than a “correlation image,” Dr. Essa testifies that filtering the input
    image with the second derivative elongated Gaussian filter “results in a
    matrix of correlation output values.” Ex. 1016 ¶ 45. Dr. Essa further
    testifies that although “Yow does not explicitly disclose that the result of the
    correlation is a correlation image, it would have been obvious for one of
    ordinary skill to provide that matrix of correlation values as the correlation
    image.” Id.
          For purposes of this Decision, we credit Dr. Essa’s testimony and
    determine that at this stage of the proceeding, the Petition and supporting
    evidence adequately provide a reason why a person of ordinary skill in the
    art would have considered the result of filtering an input image with an
    elongated filter to be a correlation image that correlates the input image to an
    elongated reference pattern indicative of facial features. There is a
    reasonable likelihood that Petitioner would prevail in showing that claim 1
    would have been obvious over Yow.
          Claim 2 recites “said step of screening said potential candidate regions
    further includes comparing a contrast value calculated for a sub-region of
    each potential candidate region to a threshold contrast value, said target
    image pattern of interest being a human face.” Petitioner contends Yow
    discloses this limitation in disclosing performing edge detection in sub-
    regions centered around each correlation point, and comparing a contrast
    value for a sub-region of each potential candidate region to a threshold value
    using Canny edge detection. Pet. 23 (citing Ex. 1003, 716; Ex. 1016 ¶ 101).
          Claim 3 recites said “step of comparing said contrast value is a step of
    comparing said contrast value from said sub-region of said each potential
    candidate region that is located in an upper-half portion of said each


                                           15
                              Dawson Decl. Exh. B, Page 57
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 17 of 39 Page ID
                                 #:10165
    IPR2018-00688
    Patent 6,463,163 B1

    potential candidate region.” Petitioner contends Yow discloses this
    limitation in disclosing analyzing sub-regions about a feature point. Pet. 23
    (citing Ex. 1003, 716).
          Claim 6 recites “said step of correlating said input image with said
    preselected reference data includes removing an undesired image
    characteristic from said input image, said removal being effectuated by a
    mathematical property of said preselected reference data.” Petitioner
    contends Yow discloses this limitation in disclosing using a matched
    bandpass filter to remove undesired image characteristics such as noise from
    the image. Pet. 24 (citing Ex. 1003, 716; Ex. 1016 ¶ 1016).
          We have analyzed Petitioner’s evidence and determine that it supports
    findings that the additional limitations of claims 2, 3, and 6 are taught by
    Yao. Thus, on the current record, there is a reasonable likelihood that
    Petitioner would prevail in showing that claims 2, 3, and 6 would have been
    obvious over Yow. We note that Patent Owner does not present separate
    arguments for these dependent claims.
          Claim 15 recites
          first filtering means configured for identifying a plurality of
          image regions of said input image that have a likelihood of
          containing said target image pattern, said filtering means being
          configured to correlate said input image with a reference image
          pattern to select said image regions, said reference image pattern
          being indicative of said target image pattern.
    Petitioner contends Yow discloses this limitation in describing a matched
    bandpass filter, such as a second derivative Gaussian elongated at an aspect
    ratio of 3:1, to correlate the input image with six facial features that each
    resembles a dark elongated bar on a light background. Pet. 27 (citing
    Ex. 1003, 716).

                                           16
                              Dawson Decl. Exh. B, Page 58
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 18 of 39 Page ID
                                 #:10166
    IPR2018-00688
    Patent 6,463,163 B1

          Claim 15 also recites
          Second filtering means operatively coupled to and operatively
          following said first filtering means for screening said image
          regions to select a candidate region that has a high likelihood of
          containing said target image pattern, said second filtering means
          being configured to examine a grayscale characteristic of said
          image regions as a determination factor in selecting said
          candidate region from among said image regions.
    Petitioner contends Yow discloses this limitation in disclosing an edge
    detector coupled to the correlation filter, to analyze a grayscale
    characteristic, such as contrast, of the image regions selected by the
    correlation filter. Pet. 27 (citing Ex. 1003, 716).
          Claim 15 further recites “an image pattern detector connected to and
    operatively following said second filtering means to receive said candidate
    region, said image pattern detector designed to analyze said candidate region
    to verify whether said candidate region contains said target image pattern.”
    Petitioner contends Yow teaches an “image pattern detector designed to
    analyze said candidate region to verify whether said candidate region
    contains said target image pattern” in teaching known neural network face
    detection, as publicized by Rowley. Pet. 28 (citing Ex. 1003, 714).
    Petitioner contends that combining Yow’s pre-filtering stage to select a
    limited number of candidate regions, with the well-known Rowley neural
    network face detection stage, results in better detection of small faces.
    Pet. 28 (citing Ex. 1016 ¶ 121). According to Petitioner, a person of
    ordinary skill in the art would have replaced Yow’s face detection stage with
    the Rowley face detection stage to overcome Yow’s shortcoming of being
    unable to detect faces that are too small. Pet. 28 (citing Ex. 1003, 732).



                                           17
                              Dawson Decl. Exh. B, Page 59
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 19 of 39 Page ID
                                 #:10167
    IPR2018-00688
    Patent 6,463,163 B1

          Patent Owner contends that the Petition provides a functional analysis
    of the means-plus-function limitations of claim 15, but does not perform a
    structural analysis. Prelim. Resp. 10–15. According to Patent Owner, the
    Petition does not establish that the identified structure for the claimed “first
    filtering means,” “second filtering means,” and “image pattern detector” is
    the same as or equivalent to the corresponding structure disclosed in the
    Specification of the ’163 patent. Id.
          The Petition identifies the structure in the Specification corresponding
    to the claimed “first filtering means” as a linear matched filter, and identifies
    the equivalent structure in Yow as a matched bandpass filter. Pet. 13–14,
    27. The Petition identifies the structure in the Specification corresponding
    to the claimed “second filtering means” as a non-linear filter, and identifies
    the equivalent structure in Yow as a non-linear edge detector. Pet. 14, 27.
          At this stage of the proceeding, the Petition establishes sufficiently
    that Yow teaches “first filtering means” and “second filtering means” as
    disclosed in the Specification and their equivalents, as claimed. We have
    not construed the “image pattern detector” as a means-plus-function
    limitation at this stage of the proceeding, as discussed in our claim
    construction above. Patent Owner’s contention regarding the claimed
    “image pattern detector” is not commensurate with the scope of the claim.
          Patent Owner contends that the “Petition and Dr. Essa have failed to
    proffer any explanation or persuasive evidence demonstrating that it would
    have been obvious to modify Yow as proposed by Petitioner.” Prelim. Resp.
    21. Petitioner and Dr. Essa explained that combining Yow’s pre-filtering
    stage to select a limited number of candidate regions, with the well-known



                                            18
                              Dawson Decl. Exh. B, Page 60
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 20 of 39 Page ID
                                 #:10168
    IPR2018-00688
    Patent 6,463,163 B1

    Rowley neural network face detection stage, results in better detection of
    small faces. See Pet. 28; Ex. 1016 ¶ 121.
           At this stage of the proceeding, the Petition and supporting evidence
    establish a reasonable likelihood that claim 15 would have been obvious
    over Yow.
           Claim 16 recites “said first filtering means includes a linear matched
    filter configured to perform a linear convolution operation on said input
    image with a convolution kernel, said convolution kernel being a numerical
    representation of said reference image pattern, said reference image pattern
    being representative of a human face.” Petitioner contends Yow discloses
    this limitation in disclosing a linear matched bandpass filter to identify six
    facial features that each resembles a dark elongated bar on a light
    background. Pet. 28 (citing Ex. 1003, 716; Ex. 1016 ¶ 122).
           Claim 19 recites “said second filtering means includes a non-linear
    filter coupled in series to said first filtering means, said non-linear filter
    configured to select said candidate region by comparing a computed contrast
    value from a sub-region of each identified image region to a threshold
    contrast value.” Petitioner contends Yow discloses this limitation in
    describing an edge detector to perform Canny edge detection, which
    compares a contrast value with a threshold value. Pet. 29 (citing Ex. 1003,
    722; Ex. 1016 ¶ 124).
           We have analyzed Petitioner’s evidence and determine that it supports
    findings that the additional limitations of claims 16 and 19 are taught by
    Yao. Thus, on the current record, there is a reasonable likelihood that
    Petitioner would prevail in showing that claims 16 and 19 would have been



                                            19
                               Dawson Decl. Exh. B, Page 61
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 21 of 39 Page ID
                                 #:10169
    IPR2018-00688
    Patent 6,463,163 B1

    obvious over Yow. We note that Patent Owner does not present separate
    arguments for these dependent claims.
                       C. Obviousness Over Yow and Crowley
          Petitioner, relying on the Declaration of Dr. Irfan Essa (Ex. 1016),
    challenges claims 4 and 7 as obvious over Yow and Crowley. Pet. 29–32.
                                1. Crowley (Ex. 1007)
          Crowley discloses a face detection process that operates by
    normalized correlation of an average face image with several levels of a
    Gaussian pyramid. Ex. 1007, 25. The average face image has been formed
    by acquiring a number of face images of laboratory members with a neutral
    background, normalizing their position and orientation, then computing an
    average image. Id. A face detection signal is given by a threshold on
    normalized correlation with the average face. Id.
                            2. Analysis of Claims 4 and 7
          Claim 4 recites “calculating said preselected reference data utilizing a
    plurality of training images containing said target image pattern of interest,
    thereby forming a convolution kernel.” Petitioner contends Crowley teaches
    this limitation in teaching an average face image that has been formed by
    acquiring a number of face images of laboratory members and computing an
    average image. Pet. 31–32 (citing Ex. 1007, 25).
          Petitioner contends that Yow teaches using a correlation filter for
    correlating with an input image, and Crowley teaches a normalized
    correlation filter obtained from a plurality of training images. Pet. 30–31.
    Petitioner contends that a person of ordinary skill in the art would have
    known that replacing the known correlation filter of Yow with the known
    normalized correlation filter of Crowley would yield the predictable result of


                                          20
                              Dawson Decl. Exh. B, Page 62
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 22 of 39 Page ID
                                 #:10170
    IPR2018-00688
    Patent 6,463,163 B1

    a correlation image that more accurately matches features found in a variety
    of faces. Pet. 31 (citing Ex. 1016 ¶ 106).
          Claim 7 recites “said step of selecting said candidate region further
    includes comparing correlation values associated with each of said potential
    candidate regions to a threshold correlation value.” Petitioner contends that
    Crowley teaches this limitation in teaching that a face detection signal is
    given by a threshold on normalized correlation with the average face.
    Pet. 32 (citing Ex. 1007, 25). Petitioner contends that a person of ordinary
    skill in the art would have realized the advantages of using threshold values
    taught by Crowley for selecting a subset of the regions of local correlation
    maxima in Yow’s approach as the only regions that could contain a face.
    Id. (citing Ex. 1016 ¶ 110).
          Patent Owner contends that Yow’s face detection algorithm uses a
    filter that represents a dark elongated bar on a light background, while
    Crowley uses an average face image. Prelim. Resp. 23 (citing Ex. 1003,
    216; Ex. 1007, 25). Patent Owner contends that if Crowley’s average face
    image were substituted for Yow’s filter, the output of the combination would
    not indicate the presence and location of every dark elongated bar on a light
    background in the image, which Yow’s algorithm relies on to select
    individual facial features. Id.
          Patent Owner’s contention does not address the combination proposed
    by Petitioner, that Yow’s pre-filtering stage can be implemented using
    Crowley’s correlation filter to predictably yield a correlation image as taught
    by Crowley. Pet. 31. Petitioner’s declarant Dr. Essa testifies that simply
    replacing Yow’s correlation filter with Crowley’s correlation filter leads to



                                          21
                              Dawson Decl. Exh. B, Page 63
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 23 of 39 Page ID
                                 #:10171
    IPR2018-00688
    Patent 6,463,163 B1

    the predictable result of a correlation image that more accurately highlights
    matches with features found in a variety of actual faces. Ex. 1016 ¶ 106.
          At this stage of the proceeding, Petitioner has established sufficiently
    that the combination of Yow and Crowley teaches the limitations of claims 4
    and 7. We also determine the Petition and supporting evidence establishes a
    reasonable likelihood that claims 4 and 7 would have been obvious over the
    combination of Yow and Crowley.
                          D. Obviousness Over Yow Thesis
          Petitioner, relying on the Declaration of Dr. Irfan Essa (Ex. 1016),
    challenges claims 1–3, 6, 7, 15, 16, and 19 as obvious over the Yow Thesis.
    Pet. 33–50.
                               1. Yow Thesis (Ex. 1004)
          Yow discloses a feature-based algorithm for detecting faces that, in a
    preattentive stage, uses spatial filters to detect feature points from the image,
    and uses geometric and gray level constraints to group the feature points into
    face candidates. Ex. 1004, Abstract, 63–64. The algorithm then, in an
    attentive stage, evaluates the likelihood that each candidate is a face.
    Ex. 1004, Abstract, 64.
          The preattentive stage detects feature points in two steps. Ex. 1004,
    63. First, a list of interest points is found from the image using the response
    of Gaussian derivative filters. Id. at 63–64. Next, edges around each
    interest point are examined and linked based on their proximity, and
    similarity in orientation and strength. Id. at 64. Each detected interest point
    is checked to see if there is a pair of roughly parallel edges of similar length
    and proportional separation, and if so, is flagged as a feature point. Id. In



                                           22
                              Dawson Decl. Exh. B, Page 64
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 24 of 39 Page ID
                                 #:10172
    IPR2018-00688
    Patent 6,463,163 B1

    the attentive stage, the feature points and associated feature regions are
    actively grouped using a model of the face. Id.
           Figure 2.4 below shows an example of images produced during the
    first step of the preattentive stage.




    In Figure 2.4 above, the left column shows a first input image and a second
    input image. Ex. 1004, 33–34. The center column shows the outputs of
    convolving each input image with a Gaussian derivative filter of a matching
    scale and orientation (“matched filtering”) to obtain a correlation image. Id.
    The right column shows the resulting interest points detected in each image.
    Id.
           Figures 2.9(a)–(d) below show an example of images produced during
    the second step of the preattentive stage. Ex. 1004, 43–44.




                                            23
                               Dawson Decl. Exh. B, Page 65
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 25 of 39 Page ID
                                 #:10173
    IPR2018-00688
    Patent 6,463,163 B1




    Figure 2.9(a) above shows an image and corresponding interest points
    obtained from matched bandpass filtering. Id. at 44. Figure 2.9(b) shows
    edges detected in the image, and Figure 2.9(c) shows detected edges next to
    detected feature points that are linked in an approximately horizontal


                                         24
                             Dawson Decl. Exh. B, Page 66
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 26 of 39 Page ID
                                 #:10174
    IPR2018-00688
    Patent 6,463,163 B1

    orientation. Id. Figure 2.9(d) shows the image with the detected feature
    points. Id.
                   2. Analysis of claims 1–3, 6, 7, 15, 16, and 19
          Petitioner contends that the Yow thesis qualifies as a printed
    publication under 35 U.S.C. § 102(a), because the Yow thesis was made
    publicly available before April 22, 1998, which is prior to the January 11,
    1999, filing date of the ’163 patent. Pet. 33 (citing Ex. 1011). According to
    Petitioner, the Yow thesis was approved on March 17, 1998. Id. Petitioner
    also contends that the author of the Yow thesis had been approved for the
    award of a Ph.D. degree before April 22, 1998. Pet. 33 (citing Ex. 1012).
    According to Petitioner, Exhibits 1011 and 1012 establish that the Yow
    thesis was deposited and catalogued in the Cambridge University Library
    before April 22, 1998. Id. Petitioner also contends that several publications
    from 1998 and 1999 cite to other 1998 University of Cambridge Ph.D.
    theses, which creates an inference that the Yow thesis was also publicly
    accessible in 1998. Pet. 33–34 (citing Ex. 1013, 18, 20; Ex. 1014, 244;
    Ex. 1015, 219).
          Patent Owner contends that an entry showing that the Yow thesis was
    approved on March 17, 1998, does not establish that the Yow thesis was
    publicly available as of that date. Prelim. Resp. 28. Patent Owner also
    contends that showing the author had been approved for the award of the
    Ph.D. degree, and the thesis had been required to be deposited in the
    University Library does not establish that the Yow thesis was publicly
    available as of that date. Prelim. Resp. 28–29. Patent Owner contends that
    showing that other publications cite to other 1998 University of Cambridge



                                         25
                             Dawson Decl. Exh. B, Page 67
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 27 of 39 Page ID
                                 #:10175
    IPR2018-00688
    Patent 6,463,163 B1

    Ph.D. theses does not establish that the Yow thesis was publicly available
    before January 11, 1999. Prelim. Resp. 29.
          When addressing the issue of whether an uncatalogued, unshelved
    thesis is a “publication,” the Federal Circuit stated that “delays within a
    university library . . . are of utmost significance because public access to the
    document is thereby deferred.” Application of Bayer, 568 F.2d 1357, 1362
    (CCPA 1978). In a subsequent case, the Federal Circuit “conclude[d] that
    competent evidence of the general library practice may be relied upon to
    establish an approximate time when a thesis became accessible.” In re Hall,
    781 F.2d 897, 899 (Fed. Cir. 1986). The Federal Circuit stated that
    affidavits from a librarian showed the librarian “was relying on his library’s
    general practice for indexing, cataloging, and shelving theses in estimating
    the time it would have taken to make the dissertation available to the
    interested public,” and held that the dissertation was available as a printed
    publication. Id. at 899–90.
          Although Petitioner provides evidence of the date of approving the
    Yow thesis, and the date of depositing the Yow thesis with a library
    (Exs. 1011 and 1012), Petitioner does not provide evidence of the “library’s
    general practice for indexing, cataloging, and shelving theses,” nor how
    Petitioner relied on the “library’s general practice for indexing, cataloging,
    and shelving theses in estimating the time it would have taken to make the
    [Yow thesis] available to the interested public.” Hall, 781 F.2d at 899.
          At this stage of the proceeding, we have concerns that Petitioner has
    not established sufficiently that the Yow thesis is available as a printed
    publication. Nevertheless, we institute a trial on this ground pursuant to the
    Supreme Court’s direction that a final written decision under 35 U.S.C.


                                           26
                              Dawson Decl. Exh. B, Page 68
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 28 of 39 Page ID
                                 #:10176
    IPR2018-00688
    Patent 6,463,163 B1

    § 318(a) must decide the patentability of all claims challenged in the
    petition. See SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348, 1360 (2018).
                   E. Obviousness Over Yow Thesis and Crowley
           Petitioner, relying on the Declaration of Dr. Irfan Essa, challenges
    claim 4 as obvious over the Yow Thesis and Crowley. Pet. 50–51.
           At this stage of the proceeding, we have concerns that Petitioner has
    not established sufficiently that the Yow thesis is available as a printed
    publication, as discussed above, but proceed on this ground pursuant to SAS
    Institute.
                            F. Obviousness Over Kosugi
           Petitioner, relying on the Declaration of Dr. Irfan Essa, challenges
    claims 1, 4, 6, and 7 as obvious over Kosugi. Pet. 33–50.
                                 1. Kosugi (Ex. 1005)
           Kosugi discloses an image recognition apparatus including rough
    search unit 100 that scans a rough pixelation of an unknown image using a
    rough pixelation of a target image to search for a location in the unknown
    image that matches the target image. Ex. 1005 ¶¶ 9–13, Figs. 1 and 5. For
    example, the location can be detected when a Euclidian distance between the
    rough unknown image and the rough target image is a minimum value, and
    the value is below a threshold. Ex. 1005 ¶¶ 13, 18. After the general
    location is known, detailed search unit 200 performs a detailed search of the
    general location using detailed pixelations of the unknown image and the
    target image. Ex. 1005 ¶¶ 20–24, Figs. 1 and 6. The output of the detailed
    search unit is sent to recognition unit 300. Ex. 1005 ¶ 26, Fig. 1.




                                          27
                              Dawson Decl. Exh. B, Page 69
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 29 of 39 Page ID
                                 #:10177
    IPR2018-00688
    Patent 6,463,163 B1

                          2. Analysis of claims 1, 4, 6, and 7
          Claim 1 recites “receiving said input image.” Petitioner contends this
    limitation is disclosed by Kosugi’s description of an object image targeted
    for recognition. Pet. 55 (citing Ex. 1005 ¶ 6).
          Claim 1 recites “correlating said input image with preselected
    reference data to derive a correlation image, said preselected reference data
    being representative of said target image pattern of interest, said correlation
    image having image data indicative of correlations between said input image
    and said preselected reference data.” Petitioner contends this limitation is
    taught by Kosugi’s teaching of a rough search unit to derive distances
    between locations in a rough pixelated input image and a rough pixelated
    target image, where the smaller the distance, the closer the match between
    the input image and the target image. Pet. 55–57 (citing Ex. 1005 ¶¶ 6, 1–
    14; Figs. 2 and 5). Petitioner contends that the distance is calculated for
    each location of the input image, and the result is stored in a position-size-
    distance accumulation unit along with M x N position data in the input
    image. Pet 57 (citing Ex. 1005 ¶¶ 13–14).
          According to Petitioner, although Kosugi does not disclose a
    correlation image explicitly, it would have been obvious to create such an
    image using the M x N matrix of distance data stored in the accumulation
    unit for each location in the input image. Pet. 57 (citing Ex. 1016 ¶ 168).
    Dr. Essa testifies that the distance of Kosugi is a correlation value, because
    the smaller the distance, the greater the match. Ex. 1016 ¶ 168. Dr. Essa
    testifies that simply generating a matrix containing the inverse of the
    distance for each input image location would constitute a correlation image.
    Id.


                                           28
                              Dawson Decl. Exh. B, Page 70
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 30 of 39 Page ID
                                 #:10178
    IPR2018-00688
    Patent 6,463,163 B1

          Claim 1 recites
          selecting a candidate region of said input image having a
          likelihood of containing said target image pattern of interest on a
          basis of correlating said input image with said preselected
          reference data, said step of selecting including identifying
          potential candidate regions of said input image based on
          detecting a local maximum in said correlation image and
          screening said potential candidate regions by analyzing a
          grayscale characteristic of said potential candidate regions, said
          screening including discarding said potential candidate regions
          that do not satisfy a predetermined criterion with respect to said
          grayscale characteristic in order to increase a probability that said
          selected candidate region contains said target image pattern of
          interest.
    Petitioner contends Kosugi teaches this limitation in disclosing a rough
    search unit that identifies potential candidate regions by detecting locations
    of minimum distances. Pet. 58 (citing Ex. 1005 ¶ 18). According to
    Petitioner, a skilled artisan would have understood that a minimum distance
    corresponds to a maximum correlation value. Pet. 58 (citing Ex. 1016
    ¶ 169). Petitioner further contents that Kosugi’s process further compares
    the minimum distance to a threshold, and further screens potential candidate
    regions using a detailed search unit that analyzes the grayscale characteristic
    of intensity value to discard regions not close in grayscale values to a finer-
    pixelated target image. Pet 58–60 (citing Ex. 1005 ¶¶ 5, 24, 26; Figs. 3 and
    6).
          Patent Owner contends that the only support for Petitioner’s
    obviousness argument regarding Kosugi’s teaching of a correlation image is
    a citation to the Declaration of Dr. Essa. Prelim. Resp. 32–33 (citing
    Pet. 57; Ex. 1016 ¶ 168). According to Patent Owner, Dr. Essa only
    provides conclusory statements about what Kosugi discloses. Pet. 33.


                                           29
                              Dawson Decl. Exh. B, Page 71
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 31 of 39 Page ID
                                 #:10179
    IPR2018-00688
    Patent 6,463,163 B1

          Dr. Essa testifies that
          While Kosugi does not explicitly disclose a correlation image, it
          would have been obvious to create such an image using the
          existing matrix, already stored in the accumulation unit 108 and
          containing, for each location in the input image, the distances in
          intensity space between features in the reference data and in the
          unknown image. Because the smaller the distance, the greatest
          the match (correlation value) between the input and target
          images, simply generating a matrix—easily obtained from the
          existing stored matrix—containing for example the inverse of the
          distance for each location in the input image would constitute a
          “correlation image” and would have been obvious in my view.
    Ex. 1016 ¶ 168.
          For purposes of this Decision, we credit Dr. Essa’s testimony and
    determine that at this stage of the proceeding, Petitioner and Dr. Essa have
    articulated sufficient reasoning to support the conclusion that one of
    ordinary skill would have obtained a correlation image from the stored
    matrix of distances between locations in an input image and a target image
    taught by Kosugi. For purposes of this Decision, we determine the Petition
    and supporting evidence adequately establishes a reasonable likelihood that
    Kosugi renders claim 1 obvious.
          Claim 4 recites “calculating said preselected reference data utilizing a
    plurality of training images containing said target image pattern of interest,
    thereby forming a convolution kernel.” Petitioner contends Kosugi discloses
    this limitation in teaching taking an average value for a plurality of face
    images as the target image. Pet. 60 (citing Ex. 1005 ¶ 11). We have
    analyzed Petitioner’s evidence and determine that it supports a finding that
    the additional limitation of claim 4 is taught by Kosugi. Thus, on the current
    record, there is a reasonable likelihood that Petitioner would prevail in
    showing that claim 4 would have been obvious over Kosugi. We note that

                                          30
                              Dawson Decl. Exh. B, Page 72
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 32 of 39 Page ID
                                 #:10180
    IPR2018-00688
    Patent 6,463,163 B1

    Patent Owner does not present separate arguments for these dependent
    claims.
          Claim 6 recites “said step of correlating said input image with said
    preselected reference data includes removing an undesired image
    characteristic from said input image, said removal being effectuated by a
    mathematical property of said preselected reference data.” Petitioner
    contends Kosugi discloses this limitation in disclosing removing high
    frequency noise from the input image by performing rough pixelation.
    Pet. 60 (citing Ex. 1005 ¶ 34; Ex. 1016 ¶ 181).
          Patent Owner contends that Petitioner does not address how Kosugi’s
    removal of high-frequency noise by rough pixelation of the image teaches
    that noise removal is “effectuated by a mathematical property of said
    preselected reference data” as claimed. Prelim. Resp. 37–28. We disagree
    with Patent Owner. Kosugi discloses that the rough pixelation of the target
    image is performed by obtaining an M x N block of pixels, and that rough
    pixelation of the input image is performed by obtaining a P x Q block of
    pixels. Ex. 1012 ¶¶ 10, 12, Fig. 5. Kosugi discloses comparing an M x N
    region of the P x Q input image block with the M x N target image block.
    Ex. 1005 ¶ 13, Fig 5. This evidence supports a finding that the additional
    limitation of claim 6 is taught by Kosugi. Thus, on the current record, there
    is a reasonable likelihood that Petitioner would prevail in showing that claim
    6 would have been obvious over Kosugi.
          Claim 7 recites “said step of selecting said candidate region further
    includes comparing correlation values associated with each of said potential
    candidate regions to a threshold correlation value.” Petitioner contends that
    Kosugi teaches this limitation in teaching comparing the distances in


                                         31
                             Dawson Decl. Exh. B, Page 73
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 33 of 39 Page ID
                                 #:10181
    IPR2018-00688
    Patent 6,463,163 B1

    intensity space with a threshold value. Pet. 61 (citing Ex. 1005 ¶ 18).
    Dr. Essa testifies that a person of ordinary skill in the art would have
    realized that correlation values would be represented by inverses of
    distances, such that comparing correlation values to a threshold would have
    been obvious given that Kosugi teaches comparing distances to a threshold.
    Ex. 1016 ¶ 183.
           Patent Owner contends that the only support for Petitioner’s
    obviousness argument regarding comparing correlation values to a threshold
    is a conclusory statement from Dr. Essa. Prelim. Resp. 33–34. Dr. Essa
    testifies that
           in my opinion one of ordinary skill in the art would have realized
           that locations of minimum distance in intensity space are
           locations of maximum correlation value, such that correlation
           values would be represented, for example, as inverses of the
           distances. It would have been obvious to a person of ordinary
           skill in the art to compare correlation values to a threshold, given
           that Kosugi discloses comparing distances in intensity space to a
           threshold value, in my view.
    Ex. 1016 ¶ 183. For purposes of this Decision, we credit Dr. Essa’s
    testimony and determine that at this stage of the proceeding, Petitioner and
    Dr. Essa have articulated sufficient reasoning to support the conclusion of
    obviousness. Thus, on the current record, there is a reasonable likelihood
    that Petitioner would prevail in showing that claim 7 would have been
    obvious over Kosugi.
                       G. Obviousness Over Kosugi and Fang
           Petitioner, relying on the Declaration of Dr. Irfan Essa, challenges
    claims 2, 3, 9–11, and 14 as obvious over Kosugi and Fang. Pet. 61–67.




                                           32
                              Dawson Decl. Exh. B, Page 74
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 34 of 39 Page ID
                                 #:10182
    IPR2018-00688
    Patent 6,463,163 B1

                                 1. Fang (Ex. 1006)
          Fang discloses a system for fast eye localization that is based on filters
    utilizing high horizontal contrast density of the eye region to determine eye
    positions in a grayscale image of a human face. Ex. 1006, 2, Fig. 3.
                            2. Analysis of claims 2 and 3
          Claim 2 recites “said step of screening said potential candidate regions
    further includes comparing a contrast value calculated for a sub-region of
    each potential candidate region to a threshold contrast value, said target
    image pattern of interest being a human face.” Petitioner contends Fang
    discloses this limitation in disclosing screening images for localizing a sub-
    region, namely, the eye sub-region, by comparing a contrast value to a
    threshold contrast value. Pet. 64 (citing Ex. 1006, 2; Figs. 2 and 3).
    Petitioner contends that a person of ordinary skill in the art would have
    realized the advantages of using contrast values for further screening
    candidate regions, and would have replaced Kosugi’s screening criterion
    with Fang’s contrast filter to yield the predictable result of more accurate
    screening of potential face candidates. Pet. 63 (citing Ex. 1016 ¶ 176).
          Claim 3 recites said “step of comparing said contrast value is a step of
    comparing said contrast value from said sub-region of said each potential
    candidate region that is located in an upper-half portion of said each
    potential candidate region.” Petitioner contends Fang discloses this
    limitation in disclosing a step of screening images for localizing an upper-
    half portion, namely, the eye sub-region, of a potential candidate region, by
    comparing a contrast value to a threshold. Pet. 64 (citing Ex. 1006, 8).
          We have analyzed Petitioner’s evidence and determine that it supports
    a finding that the additional limitations of claims 2 and 3 are taught by Fang.


                                          33
                              Dawson Decl. Exh. B, Page 75
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 35 of 39 Page ID
                                 #:10183
    IPR2018-00688
    Patent 6,463,163 B1

    Thus, on the current record, there is a reasonable likelihood that Petitioner
    would prevail in showing that claims 2 and 3 would have been obvious over
    Kosugi and Fang. We note that Patent Owner does not present separate
    arguments for these dependent claims.
                   H. Obviousness Over Kosugi, Fang, and Rowley
          Petitioner, relying on the Declaration of Dr. Irfan Essa, challenges
    claims 15 and 19 as obvious over Kosugi, Fang, and Rowley. Pet. 67–70.
          Claim 15 recites “first filtering means configured for identifying a
    plurality of image regions of said input image that have a likelihood of
    containing said target image pattern, said filtering means being configured to
    correlate said input image with a reference image pattern.” Petitioner
    contends Kosugi discloses this limitation in disclosing a rough search unit as
    discussed in Petitioner’s obvious analysis of claim 1 over Kosugi. Pet. 69
    (citing Pet. 55–59). According to Petitioner, Kosugi’s rough search unit
    involves a linear filter that calculates distances between the input and target
    images in intensity space. Pet. 69 (citing Ex. 1016 ¶ 192). As explained
    above, a linear filter is corresponding structure for the first filter means.
    Thus, we reject Patent Owner’s argument (Prelim. Resp. 17–18), that
    Petitioner does not identify adequate corresponding structure in Kosugi.
          Claim 15 recites “second filtering means operatively coupled to and
    operatively following said first filtering means for screening said image
    regions to select a candidate region that has a high likelihood of containing
    said target image pattern, said second filtering means being configured to
    examine a grayscale characteristic of said image regions.” Petitioner
    contends Fang’s contrast filter is a non-linear filter. Pet. 69. Dr. Essa
    testifies that in “my view one of ordinary skill in the art would have been


                                            34
                              Dawson Decl. Exh. B, Page 76
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 36 of 39 Page ID
                                 #:10184
    IPR2018-00688
    Patent 6,463,163 B1

    motivated to replace Kosugi’s grayscale characteristic analysis in the second
    step with Fang’s contrast filter, and have a reasonable expectation of success
    in so doing.” Ex. 1016 ¶ 193. As explained above, a non-linear filter is
    corresponding structure for the second filter means. Thus, we reject Patent
    Owner’s argument (Prelim. Resp. 18), that Petitioner does not identify
    adequate corresponding structure in Kosugi.
             Claim 15 recites “an image pattern detector connected to and
    operatively following said second filtering means to receive said candidate
    region, said image pattern detector designed to analyze said candidate
    region.” Petitioner contends Kosugi teaches an image pattern detector in
    teaching a recognition unit. Pet. 70 (citing Ex. 1005 ¶¶ 26–28, Figs. 1, 4,
    and 6). Petitioner contends Rowley teaches a neural network face detector.
    Pet. 70 (citing Ex. 1008). Petitioner contends that using Rowley’s face
    detector in place of the face detector of Kosugi would have been obvious.
    Pet. 68 (citing Ex. 1016 ¶ 196). Dr. Essa testifies that using Rowley’s neural
    network face detector in place of Kosugi’s recognition unit face detector
    yields the predictable result of more accurate face detection. Ex. 1016
    ¶ 196.
             Patent Owner argues that Petitioner does not identify sufficient
    structure in Kosugi and Rowley corresponding to an image pattern detector,
    assuming that this limitation is in means-plus-function format. Prelim.
    Resp. 18. As explained above, we do not construe image pattern detector to
    be a means-plus-function limitation. Accordingly, Patent Owner’s argument
    is not commensurate in scope with the claim language.
             Claim 19 recites “said second filtering means includes a non-linear
    filter coupled in series to said first filtering means.” Petitioner contends


                                            35
                               Dawson Decl. Exh. B, Page 77
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 37 of 39 Page ID
                                 #:10185
    IPR2018-00688
    Patent 6,463,163 B1

    Fang teaches this limitation in teaching comparing a contrast value from a
    sub-region to a threshold value. Pet. 70 (citing Ex. 1006, 8).
          For claims 15 and 19, we note that Patent Owner does not present
    separate arguments for these claims, but rather, relies on arguments
    presented for claim 1, namely, that Kosugi does not teach a correlation
    image as claimed. See Prelim. Resp. 32. We have addressed these
    arguments in our analysis of claim 1 above.
          We have analyzed Petitioner’s evidence and determine that it supports
    a finding that the additional limitation of claims 15 and 19 are taught by
    Fang. Thus, on the current record, there is a reasonable likelihood that
    Petitioner would prevail in showing that claims 15 and 19 would have been
    obvious over Kosugi, Fang, and Rowley.


                                    III. CONCLUSION
          We have considered the information presented in the Petition and
    Preliminary Response and determine that there is a reasonable likelihood
    that Petitioner would prevail with respect to at least one claim challenged in
    the Petition. See 35 U.S.C. § 314(a); 37 C.F.R. § 42.108.


                                        IV. ORDER
          Accordingly, it is
          ORDERED that pursuant to 35 U.S.C. § 314, an inter partes review of
    claims 1–4, 6, 7, 15, 16, and 19 3 of U.S. Patent No. 6,463,163 B1 is
    instituted on all grounds.


    3
     Because Patent Owner filed a statutory disclaimer for claims 9–14, we do
    not institute on challenged claims 9–11 and 14. See Ex. 2002.
                                             36
                                 Dawson Decl. Exh. B, Page 78
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 38 of 39 Page ID
                                 #:10186
    IPR2018-00688
    Patent 6,463,163 B1

          FURTHER ORDERED that pursuant to 35 U.S.C. 35 U.S.C. § 314(c)
    and 37 C.F.R. § 42.4, notice is hereby given of the institution of a trial; the
    trial commences on the entry date of this Decision.




                                           37
                              Dawson Decl. Exh. B, Page 79
Case 2:17-cv-07083-RGK-MRW Document 203-4 Filed 09/11/18 Page 39 of 39 Page ID
                                 #:10187
    IPR2018-00688
    Patent 6,463,163 B1



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                                       38
                           Dawson Decl. Exh. B, Page 80
